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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                           Plaintiff,
v.                                                           Case No.: 1:20−cr−00637
                                                             Honorable Manish S. Shah
Jeremiah Harris
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 9, 2022:


        MINUTE entry before the Honorable Manish S. Shah: as to Jeremiah Harris.
Telephone status hearing on 2/9/22 at 1:30 p.m. is rescheduled to a change of plea
hearing. This order memorializes the required findings under CARES Act §
15002(b)(2)(A), Pub. L. No. 116−136, 134 Stat. 281. By order dated December 16, 2021,
the Chief Judge found that felony pleas cannot be conducted in person in this district
without seriously jeopardizing public health and safety. Under Section 15002(b)(2)(A),
the assigned judge finds that further delay of this hearing would cause serious harm to the
interests of justice, because continued delays harm the public interest in the speedy
resolution of criminal cases. The defendant has a strong interest in resolving his
involvement in the federal criminal justice system without further delay. It is in the
interests of justice to resolve this prosecution as soon as possible.Members of the public
and media may listen to these proceedings by dialing 1−650−479−3207 and using phone
conference access code 23128821198##. Counsel of record and other essential case
participants will receive an email with a link to join the video conference prior to the
hearing. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Notices mailed. (psm, )




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